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                             UNITED STATES DISTRICT COURT

                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAVIER COLLAZO,                              : No. 4:20-CV-83
                                             :
               Plaintiff,                    : (Judge Brann)
                                             :
               vs.                           :
                                             :
CAPTAIN MILLER, et al.                       :
                                             :
               Defendants.                   :

                            JUDGMENT IN A CIVIL ACTION

The Court has ordered that (check one):

___ the plaintiff _______________________________________________ recover from the
defendant _____________________________________________________ the amount of
$____________________________________dollars ($                    ), which includes prejudgment
interest at the rate of __________percent, plus post judgment interest at the rate of _________ per
annum, along with costs.

___ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant
_____________________________________ recovery costs from the plaintiff
_____________________________________.

 X OTHER: Judgment is entered in favor of Defendant Miller and as against Plaintiff on all
claims.

This action was:

____ tried by a jury with Judge ___________presiding and the jury has rendered a verdict.
____ tried by Judge ________ without a jury and the above decision was reached.
_X__decided by Judge Matthew W. Brann pursuant to December 29, 2020 Memorandum, Opinion
and Order.




Dated: 12/29/2020                    Peter Welsh, Clerk of Court
                                     By: s/Lisa A. Gonsalves, deputy
